                IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                            DIVISION OF ST. CROIX

ALPHA ENERGY, a division of ALPHA )
TECHNOLOGIES SERVICES, INC.       )
                                  )            SX-17-CV-015
                       Plaintiff  )
      v.                          )
                                  )            COMPLAINT FOR BREACH OF CONTRACT,
GEC, LLC, and CONTINENTAL         )            UNJUST ENRICHMENT, AND CLAIM
CASUALTY COMPANY                  )            AGAINST PAYMENT BOND
                                  )
                       Defendants )
                                  )
GEC, LLC,                         )
                                  )            SX-18-CV-058
                       Plaintiff  )
      v.                          )
                                  )            CLAIM AGAINST PERFORMANCE BOND
ARGONAUT INSURANCE                )
COMPANY                           )            JURY TRIAL DEMANDED
                                  )
                       Defendant. )

                         NOTICE OF DEPOSITION DUCES TECUM
                             OF ROBERT G. LAVITT

       PLEASE TAKE NOTICE that pursuant to Fed. R. Civ. P. 30, and 34, Defendant

GEC, LLC will take the deposition of Mr. Robert G. Lavitt on Wednesday, March 11, 2020 at

1:30 p.m. at the Offices of Dreifuss Bonacci & Parker, Five Penn Plaza,

23rd Floor, New York, New York 10001 for the purposes of discovery, or use in trial or

later proceedings, or both.

       This deposition will continue from day to day until completed.

       Deponent Mr. Robert G. Lavitt is requested to produce at the deposition all items

listed on Exhibit A.
Alpha Energy v. GEC, LLC, et al. SX-17-CV-015 & SX-18-CV-058
Notice of Deposition Duces Tecum
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                                                    Respectfully submitted,

                                                    HUNTER & COLE
                                                    Attorneys for GEC, LLC.

DATED: February 11, 2020                            BY:        /s/Warren B. Cole
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